                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:10-cr-75
 vs.                                                  )
                                                      )
 JOHN CHESTER ROBERTS                                 )       COLLIER/CARTER

                                 MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on January 20, 2011, in
 accordance with Rule 46(c) of the Federal Rules of Criminal Procedure and 18 U.S.C. §§ 3143 and
 3148 on the Petition for Action on Conditions of Pretrial Release. Those present for the hearing
 included:

                (1) AUSA Scott Winne for the USA.
                (2) The defendant, John Chester Roberts.
                (3) Attorney Chris Lanier for defendant.
                (4) U.S. Pretrial Services Officer David Croft.
                (5) Deputy Clerk Kelli Jones.

         After being sworn in due form of law the defendant was informed or reminded of his
 privilege against self-incrimination accorded him under the 5th Amendment to the United States
 Constitution.

        AUSA Scott Winne called U.S. Probation Officer David Croft, who testified that the
 defendant tested positive for use of methamphetamine on January 4, 2011 and on January 14, 2011,
 at CADAS. Based on the defendant’s continued drug use, I conclude the defendant has failed to
 abide by his conditions of release and that he is therefore a danger to the community. Therefore, he
 must be detained without bond.

        SO ORDERED.

        ENTER.

                                               s/William B. Mitchell Carter
                                               UNITED STATES MAGISTRATE JUDGE




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